             EXHIBIT 2




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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TENNESSEE

              ZAKAI ZEIGLER,                                      )
                                                                  )
                       Plaintiff,                                 )
                                                                  )   Case No. 3:25-CV-00226-KAC-DCP
              v.                                                  )
                                                                  )           JUDGE CRYTZER
              NATIONAL COLLEGIATE                                 )
              ATHLETIC ASSOCIATION,                               )     MAGISTRATE JUDGE POPLIN
                                                                  )
                       Defendant.                                 )
                                                                  )

                            SUPPLEMENTAL DECLARATION OF ZAKAI ZEIGLER

                      1.      I, Zakai Zeigler, state that I am over the age of eighteen and competent

             to make this supplemental declaration.

                      2.      I have been informed that, if my Motion for Preliminary Injunction is

             granted, I will have a roster spot on the University of Tennessee Men’s Basketball

             Team for the 2025-2026 season.

                      3.      I do not have a guaranteed roster spot for any future season.

                      4.      The opportunity to play in the 2025-2026 season would not only give me

             a chance to earn significant NIL income, but it also would allow me to continue to

             elevate my level of play in the most competitive conference in the nation. I see the

             possibility of a fifth year and the opportunity to attend graduate school as the

             opportunity of a lifetime. If successful, I would be the first person in my family to

             obtain a graduate degree.

                      5.      The team began summer practice on Monday, June 2, 2025. Based on

             my experience with the team over the past four seasons, I know that it is important



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             to be involved in team practices, including those early in the season, as those practices

             are vital to development of the team as a whole, especially team chemistry. This

             chemistry and early bonding ultimately increases the overall success of the team over

             the long season.

                     6.       The 2024-2025 NCAA basketball season wrapped up on April 7, 2025. I

             have heard from many people in the Division 1 community that the NCAA was

             seriously considering changing the Four-Seasons Rule to allow five seasons of play

             over five years. Since many of my teammates had been granted five seasons of

             eligibility, and with all the talk about this rule change potentially happening, I was

             really hoping I’d get that same chance too.

                     7.       As of early May, I determined that I could not afford to wait and see if

             this rule change would happen, and I chose to employ an attorney to file this motion.

                     8.       The chance to learn from experienced upperclassmen and fifth-year

             players has been very valuable to me. Having a veteran presence on the team taught

             me how to succeed not just as a student and athlete, but as a person. If I get the

             opportunity to play a fifth year, I want to do the same thing for the younger guys on

             the team and pay it forward.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws

             of the United States of America that the foregoing is true and correct to the best of

             my knowledge.



                                                                             ________________________
                                                                             Zakai Zeigler
                                                                             June 7, 2025


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